            Case 2:18-cr-00217-RSM Document 601 Filed 09/18/20 Page 1 of 2




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 2                                                        Chief Judge Ricardo S. Martinez
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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8
                                    AT SEATTLE
 9
      UNITED STATES OF AMERICA,                  NO. CR18-217-RSM
10
                                Plaintiff,
11                                               ORDER GRANTING UNITED STATES’
                      v.                         MOTION FOR LEAVE TO FILE SURREPLY
12
                                                 IN OPPOSITION TO DEFENDANT
      ANTHONY PELAYO,
13                                               PELAYO’S AMENDED MOTION TO
                                Defendant.       SUPPRESS FRUITS OF ILLEGAL SEIZURE
14
                                                 (DOCKET NO. 428)
15
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17         The Court, having reviewed the United States’ Motion for Leave to File Sur-reply in
18 Opposition to Defendant Pelayo’s Amended Motion to Suppress Fruits of Illegal Seizure
19 (Dkt. 428), enters the following Order:
20         IT IS HEREBY ORDERED that leave is GRANTED. The United States may file a
21 sur-reply to defendant Pelayo’s Amended Motion to Suppress Fruits of Illegal Seizure (Dkt.
22 428).
23         DATED this 18th day of September, 2020.
24
25
26
                                             A
                                             RICARDO S. MARTINEZ
27                                           CHIEF UNITED STATES DISTRICT JUDGE

28


     ORDER GRANTING UNITED STATES’ MOTION FOR LEAVE TO FILE                UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     SURREPLY IN OPPOSITION TO DEFENDANT PELAYO’S MOTION TO               SEATTLE, WASHINGTON 98101-1271
     SUPPRESS FRUITS OF ILLEGAL SEIZURE (DKT. 428) - 1                             (206) 553-7970
     U.S. v. Anthony Pelayo, et al.; CR18-217-RSM
            Case 2:18-cr-00217-RSM Document 601 Filed 09/18/20 Page 2 of 2




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     Presented by:
 4
   s/ William Dreher
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   WILLIAM DREHER
 6 Assistant United States Attorney
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     ORDER GRANTING UNITED STATES’ MOTION FOR LEAVE TO FILE       UNITED STATES ATTORNEY
                                                                  700 STEWART STREET, SUITE 5220
     SURREPLY IN OPPOSITION TO DEFENDANT PELAYO’S MOTION TO      SEATTLE, WASHINGTON 98101-1271
     SUPPRESS FRUITS OF ILLEGAL SEIZURE (DKT. 428) - 2                    (206) 553-7970
     U.S. v. Anthony Pelayo, et al.; CR18-217-RSM
